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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                       :
 UNITED STATES OF AMERICA                              :
                                                       :
                    - v. -                             :       S4 23 Cr. 490 (SHS)
                                                       :
 ROBERT MENENDEZ,                                      :
 WAEL HANA                                             :
      a/k/a “Will Hana,” and                           :
 FRED DAIBES,                                          :
                            Defendants.                :
                                                       :
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      THE GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE IMROPER
     ELICITATION OF FACTS AND IMPEACHMENT MATERIAL RELATED TO
            A NON-TESTIFYING CONFIDENTIAL HUMAN SOURCE



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                               PRELIMINARY STATEMENT

       The Government respectfully seeks a ruling in limine on two matters about which counsel

for defendant Robert Menendez has informed the Government they intend to offer evidence,

including in the form of cross-examination, and/or argument. Neither is relevant or admissible.

       Specifically, the Government seeks to preclude the following: (1) any evidence or

argument regarding the credibility of a particular Confidential Human Source (“CHS”) working

with the Federal Bureau of Investigation (“FBI”), which CHS the Government does not intend to

call at trial and none of whose statements the Government intends to offer for the truth of any

matter asserted; and (2) any evidence or argument revealing that the pertinent individual was,

unbeknownst to those with whom the CHS contemporaneously interacted, a CHS. 1 Evidence or

argument on either matter is irrelevant, would be highly confusing and distracting, could endanger

one or more people, and should be precluded. 2




1 While the Government does not herein use the CHS’s name, it describes the CHS and his or her

interactions in a manner that is likely to render the CHS identifiable, at least to knowledgeable
persons, which risks physical danger to the CHS and/or his or her family. Accordingly, the
Government has submitted this memorandum under seal in the first instance. See, e.g., United
States v. Longueuil, 567 F. App’x 13, 16 (2d Cir. 2014) (affirming protective order sealing
documents containing sensitive information about the government’s investigative methods and
techniques); In re Dep't of Investigation, 856 F.2d 481, 484 (2d Cir. 1988) (“The purpose of [the
law enforcement] privilege is to prevent disclosure of law enforcement techniques and procedures,
to preserve the confidentiality of sources, to protect witness and law enforcement personnel, to
safeguard the privacy of individuals involved in an investigation, and otherwise to prevent
interference with an investigation.”). Pursuant to the Court’s order (Dkt. 169), the Government
will confer with counsel for the defendants regarding the scope of redactions to a public filing.
2 Prior to filing this motion, the Government conferred with Menendez’s counsel regarding these

issues. Counsel for the other defendants have not indicated that they agree with Menendez’s
counsel’s position, but to the extent they also have not expressly disclaimed such agreement, the
Government requests that the Court’s ruling apply to all defendants.
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                                         BACKGROUND

       As the Court is aware from prior submissions by the Government (see, e.g., Dkt. 190), the

FBI lawfully utilized a CHS to further its investigation into certain of the conduct in this matter.

During the course of that investigation, the CHS, among other things, made audio recordings of at

least certain of the CHS’s meetings with defendant Wael Hana and an individual

        , who was a            associate of Hana. The FBI generated reports of its meetings with

the CHS, which were declassified (to the extent they had been classified) and produced to the

defendants in unclassified discovery on or about January 12, 2024.

       The Government intends to call              as a witness during its case-in-chief at trial. The

Government does not intend: (i) to ask            on direct examination about the CHS; (ii) to offer

any statements of the CHS                                                 for the truth of any matter

asserted; (iii) to offer the recordings made by the CHS; or (iv) to call the CHS as a witness at trial.

                                           ARGUMENT

       As described above, the Government produced to the defendants all reports of or

concerning the CHS’s information related to or regarding the charged investigation,

notwithstanding that the CHS is not a Government trial witness and that the Government does not

intend to offer any hearsay statements or recordings of the CHS at trial. Menendez has taken the

position that, notwithstanding these facts, he is entitled both (1) to all potential impeachment

material regarding the CHS, and (2) to offer evidence that the CHS was a CHS. He is wrong on

both counts.




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   I.      MENENDEZ IS NOT ENTITLED TO IMPEACHMENT MATERIAL
           RELATED TO THE CHS AND SHOULD BE PRECLUDED FROM SEEKING
           TO IMPEACH THE CREDIBILITY OF A NON-TESTIFYING WITNESS
           WHOSE STATEMENTS ARE NOT BEING OFFERED FOR THEIR TRUTH

        Pursuant to Giglio v. United States, 405 U.S. 150 (1972), the Government is obligated to

disclose material that would have the “potential to alter the jury’s assessment of the credibility of

a significant prosecution witness.” United States v. Avellino, 136 F.3d 249, 255 (2d Cir. 1998);

see also United States v. Orena, 145 F.3d 551, 557 (2d Cir. 1998). Of course, a witness, for these

purposes, does not only mean a person literally testifying from the witness stand. Rather, with

respect to a non-testifying hearsay declarant, impeachment is permitted because “[t]he declarant

of a hearsay statement which is admitted in evidence is in effect a witness. His credibility should

in fairness be subject to impeachment . . . as though he had in fact testified.” Fed. R. Evid. 806

Advisory Committee Note; see also United States. v. Jackson, 345 F.3d 59, 71 (2d Cir. 2003) (“It

is thus clear that Brady and its progeny may require disclosure of exculpatory and/or impeachment

materials whether those materials concern a testifying witness or a hearsay declarant.”).

        The opposite is equally true. Where a non-testifying individual is not “in effect a witness”

because his or her out-of-court statements are not offered for the truth of a matter asserted, his or

her credibility is not at issue. See Fed. R. Evid. 806 (permitting impeachment evidence for non-

testifying witnesses only “[w]hen a hearsay statement . . . has been admitted in evidence”

(emphasis added)); see also, e.g., United States v. Paulino, 445 F.3d 211, 217 (2d Cir. 2006) (“a

statement not offered to prove the truth of the matter asserted may not be impeached under

Rule 806”); United States v. Wagner, 103 F. Appx. 422, 429 (2d Cir. 2004) (where a government

cooperator “did not testify at trial” and where his recorded statements were entered into evidence

not for their truth, but for the context of other statements, the “[cooperator’s] credibility was

irrelevant”), cert. granted and judgment vacated on other grounds, 544 U.S. 958 (2005); United

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States v. Perez, No. 05 Cr. 441 (PKL), 2005 WL 2709160, at *3 (S.D.N.Y. Oct. 20, 2005)

(“Because the informant’s statements are not hearsay, and because the government will not call

the informant as a witness at trial, it follows that defendant may not impeach the credibility of the

informant.”); United States v. Romano, No. 12 Cr. 691 (JFK), 2014 WL 69794, at *1 (E.D.N.Y

Jan. 8, 2014) (“[I]t is well settled in this Circuit that a district court may preclude the defense from

impeaching an informant or cooperator who does not testify and whose recorded statements are

not offered for their truth.”); see generally United States v. Shyne, 617 F.3d 103, 107 (2d Cir. 2010)

(“The defendants’ argument that because a non-testifying declarant’s statement comes into

evidence against them somehow converts that declarant into the equivalent of a witness who has

appeared and testified under oath is the proverbial comparison of apples to oranges.”).

        This is the case even where the non-testifying individual appears to have engaged in serious

criminal conduct. Cf., e.g., United States v. Ulbricht, 858 F.3d 71, 110 (2d Cir. 2017) (“Because

[former DEA agent] did not testify at trial, information related to his corruption would not have

been relevant to attack the credibility of any testimony he would have given.”). It is also the case

regardless of the degree to which the non-testifying individual was engaged in pertinent conduct

or conversations because such involvement does not turn that individual into a witness or declarant

within the meaning of Rule 806 (or otherwise). See, e.g., United States v. McGowan, 58 F.3d 8,

15-16 (2d Cir. 1995) (“[Government informant] was not a witness at trial, and his out-of-court

statements were not admitted for their truth. We do not agree with the argument that ‘[d]efense

counsel should have been permitted free rein in challenging the credibility of [the informant]

because [government informant] was a central figure in this trial.’ Because [the informant’s]

credibility was irrelevant, the district court was well within its discretion in denying

impeachment.”). And it is the case even where the non-testifying individual’s information led to



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the very investigation that resulted in the defendant being charged, and the jury is presented with

that same information. See, e.g., United States v. Regan, 103 F.3d 1072, 1082-83 (2d Cir. 1997)

(affirming preclusion of impeachment of two non-testifying brothers whose information was

presented at trial as background “of the events that led to the investigation”; explaining that “[t]he

district court correctly deemed the credibility of the brothers irrelevant to the issues before the jury

and properly excluded evidence impeaching them”; and noting that a “district court need not allow

impeachment of even a ‘central figure’ whose out-of-court statements were not admitted for their

truth”). In short, the rule is simple: “Unless the witness about whom impeachment material is

sought actually testifies (or his statements are admitted under circumstances making him subject

to impeachment pursuant to Rule 806), the evidence is not admissible.” United States v. Percoco,

No. 16 Cr. 776 (VEC), 2018 WL 9539131, at *1 (S.D.N.Y. June 14, 2018).

        It necessarily follows that the Government has no obligation to produce any impeachment

material for a non-testifying individual whose out-of-court statements are not offered for the truth

of any matter asserted. See, e.g., United States v. Whitehead, No. 22 Cr. 692 (LGS), Dkt. 58, at 5

(S.D.N.Y. Feb. 22, 2023) (“Defendant’s January 20, 2023, motion for pretrial production of

evidence admissible to attack the credibility of Brandon Belmonte is DENIED as moot based on

the Government’s representation that it does not intend to call Belmonte as a witness or offer any

of his statements for the truth of the matter asserted.” (citing cases)); Perez, 2005 WL 2709160,

at *4 (“[W]hen a declarant’s credibility has not been put into issue, it cannot be attacked with

impeachment material, and the Giglio disclosure obligation therefore is not met.”); United States

v. Madori, No. S2 02 Cr. 274 (GEL), 2004 WL 2274756, at *12 (S.D.N.Y. Oct. 7, 2004) (“While

Giglio material must be provided as to an out-of-court declarant whose statements are admitted

against a defendant as co-conspirator hearsay,” it does not have to be provided where the



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statements in question are not offered to prove the truth of the matter asserted and the witness’s

credibility is thus not put into issue.), aff’d in part, rev’d in part on other grounds, 419 F.3d 159

(2d Cir. 2005). 3

        In conferring with the Government, Menendez’s counsel suggested that the Government

must produce impeachment material, if any, concerning the CHS, because                    interacted with

the CHS, and those interactions may have informed                                   or because they are

otherwise background to or context for          testimony. The proposition that he appears to have

advanced has no support in the law. As discussed above, the Government (i) does not intend to

call the CHS at trial; (ii) does not intend to offer any statements of the CHS for their truth; (iii) does

not intend to introduce recordings made by the CHS, and indeed, (iv) does not even intend to ask

questions              that would elicit anything in direct examination about the CHS at all. To be

sure,         might, in response to a question on direct examination,                                    ,

despite that not being necessary to answer the question, and without reference to the fact the CHS

was a CHS.             also might reference matters about               spoke with the CHS. But those




3 In conferring with the Government, Menendez’s counsel suggested that Menendez might seek to

call the CHS, whose identity he knows, as a witness. Irrespective of whether Menendez could
properly do so, such a hypothetical, non-committal, and future decision would not provide a
ground to demand that the Government provide impeachment material with respect to the CHS—
who would then be a defense witness, not a Government witness—much less to demand that the
Government do so now. See, e.g., United States v. Alorwornu, No. 23 Cr. 00013 (SVN), 2024 WL
1050326, at *7 (D. Conn. Mar. 11, 2024) (“Defendant has pointed to no cases holding that the
Government’s disclosure obligations extend to defense witnesses writ large; to the contrary, the
Government and Court have identified cases counseling otherwise.”) (citing, inter alia, United
States v. Rodriguez, 496 F.3d 221, 222 (2d Cir. 2007) (obligation to disclose material information
in the government’s possession “that impeaches its witnesses or exculpates the defendant”)
(emphasis added)); see also United States v. Certified Env't Servs., Inc., 753 F.3d 72, 91 (2d Cir.
2014) (describing evidence as favorable to the accused if it “is useful to impeach the credibility of
a government witness”) (emphasis added)).

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references would not put at issue the CHS’s credibility. 4 On the contrary, under settled law, the

Government could introduce recorded statements of the CHS and a defendant himself, introduce

information obtained and presented by the CHS that led to the investigation resulting in charges

against a defendant, and/or introduce extensive non-hearsay statements of the CHS, and that still

would not put at issue the CHS’s credibility. See, e.g., McGowan, 58 F.3d at 15-16; Regan, 103

F.3d at 1082-83; Perez, 2005 WL 2709160, at *3; Paulino, 445 F.3d at 217.

       Here, the Government does not intend to do any those things, yet Menendez has persisted

in his demand for all potential impeachment information. Indeed, Menendez’s counsel recently

informed that Government that unless it produces such information, they may move to preclude

        from testifying at trial. In taking this position, Menendez’s counsel have repeatedly cited

United States v. Jackson.      However, as noted above, Jackson merely affirmed that the

Government’s Brady and Giglio obligations may, in appropriate circumstances, extend to both

actual witnesses and hearsay declarants. See Jackson, 345 F.3d at 71 (“It is thus clear that Brady

and its progeny may require disclosure of exculpatory and/or impeachment materials whether

those materials concern a testifying witness or a hearsay declarant.”). Here, to the extent that the

CHS may have provided any potentially exculpatory information, such material was provided to

the defendants months ago. The question at present is whether Menendez is also entitled to

potential Giglio information relating to the CHS—and the answer, under settled case law, is no.

       In sum, there is no basis for Menendez to seek to impeach the CHS, absent the CHS

testifying or the Government introducing a hearsay statement of the CHS for its truth, which the



4 Similarly, in presenting summary charts concerning certain events or communications, the
Government may include events or communications of which the CHS may have had knowledge
or in which the CHS may have participated in some way, but provided that no communications of
the CHS are offered for the truth of a matter asserted, such a summary chart does not put the CHS’s
credibility at issue.
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       Nor should any FBI agent or other FBI personnel be cross-examined on the same subject,

because no such witness is going to testify about any of his or her actions that could possibly be

impeached by the fact that the CHS was a CHS. Moreover, as the Court is expected to instruct the

jury, law enforcement techniques are not their concern, and all evidence obtained in this case was

obtained lawfully; thus, the only purpose of cross-examining an FBI witness about the fact that the

CHS was a CHS would be to improperly suggest that something untoward occurred. See, e.g.,

United States v. Knox, 687 F. App’x 51, 54-55 (2d Cir. 2017) (instructing jury that “the government

is not on trial” is “appropriate” (internal quotation marks omitted)); United States v. Saldarriaga,

204 F.3d 50, 52 (2d Cir. 2000) (“The Court properly charged the jury to base its decision on the

evidence or lack of evidence that had been presented at trial, and to focus solely on whether, in

light of that evidence or lack of evidence, the jury was convinced beyond a reasonable doubt that

the defendant was guilty of the crimes with which he was charged.”).

       In any event, even assuming arguendo that there were some theoretical modicum of

relevance to the fact that the CHS was a CHS, any such relevance is far outweighed by the

substantial risk of unfair prejudice, jury confusion, and undue additional complexity and length of

the trial. The FBI and the Government have gone to great lengths to protect the CHS’s identity,

including by not introducing at trial recordings or other evidence that the Government would have

a right to introduce (and would not trigger a Giglio obligation, for the reasons described above).

However, should Menendez be permitted to introduce the fact that an individual—who is

peripheral to the evidence the Government will adduce at trial—cooperated with the FBI during

the course of the investigation, such evidence would place the CHS

                at risk. See, e.g., United States v. Smith, 780 F.2d 1102, 1108 (4th Cir. 1985) (“The

Government has a substantial interest in protecting sensitive sources and methods of gathering



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information.”); United States v. Abdalla, 346 F. Supp. 3d 420, 430 (S.D.N.Y. 2018) (granting

motion “regarding the imposition of security measures at trial to protect the identities of the

confidential sources”); cf. CIA v. Sims, 471 U.S. 159, 175 (1985) (stating, with respect to a CIA

source, “Even a small chance that some court will order disclosure of a source’s identity could

well impair intelligence gathering and cause sources to ‘close up like a clam.’ To induce some

sources to cooperate, the Government must tender as absolute an assurance of confidentiality as it

possibly can.”).

       Moreover, introduction of the CHS’s cooperation, particularly where not otherwise

relevant, would also require the Government to introduce additional testimony and evidence

regarding the FBI’s use of confidential sources more generally, and the FBI’s relationship with the

CHS specifically in this case. Such testimony would be necessary to place the CHS’s role in

context and to prevent the impression that there is something remarkable about the fact that a

“secret informant” was used in this case, yet is not testifying. A trial about the defendants’ guilt

would thus devolve into a mini-trial about law enforcement techniques, and the CHS’s situation in

particular, including the FBI’s concerns with respect to certain personnel in or connected to Egypt.

Rule 403 exists precisely to prevent this type of confusing, and complex, distraction. Cf. United

States v. Alimehmeti, 284 F. Supp. 3d 477, 492 (S.D.N.Y. 2018) (“[E]ven if the investigative means

and methods had some scant probative value, the Court would exclude such evidence under Rule

403. An inquiry at trial into the details of law enforcement recording methods would invite the

jury to pass judgment on the propriety of such investigative techniques.”).




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                                    CONCLUSION

      For the foregoing reasons, the Government’s motion in limine should be granted.

Dated: New York, New York
       May 14, 2024
                                         Respectfully submitted,

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